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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-01485-RBJ

KEITH CLINGMAN,

       Plaintiff,

v.

DRIVE COFFEE, LLC, DRIVE COFFEE, INC. and ALEX GRAPPO,

       Defendant(s).


     DEFENDANTS’ MOTION FOR LEAVE TO FILE RESPONSE TO PLAINTIFF’S
            MOTION FOR SUMMARY JUDGMENT PAST DEADLINE


       Defendants Drive Coffee, Inc. and Alex Grappo (together the “Drive Defendants”),

through their undersigned counsel, submit this Motion for Leave of Court to File Response to

Plaintiff’s Motion for Summary Judgment Past Deadline, and in support thereof state as follows:

       1.      The undersigned has conferred with opposing counsel, who does not oppose or take

a position on this Request for Leave, so long as she has adequate time to reply in support of

Plaintiff’s Motion for Summary Judgment.

       2.      Plaintiff and the Drive Defendants both filed motions for summary judgment timely

on August 2, 2021. The Responses were due to be filed on August 23, 2021.

       3.      The undersigned drafted the Drive Defendants’ Response to Plaintiff’s Motion for

Summary Judgment and went on to Pacer to electronically file the Response timely. Until late

yesterday, the undersigned believed that she accurately uploaded and submitted the Response

through the Pacer website. She also downloaded Plaintiff’s Response to the Drive Defendants’

Motion.



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       4.      Last night after business hours, the undersigned realized that the Drive Defendants’

Response to Plaintiff’s Motion for Summary Judgment was not on the docket for this case. The

undersigned has no explanation for this lapse other than a technological error on her own part. The

undersigned has spent significant time in the intervening hours attempting to recreate in her mind

the events of that day that would have resulted in a mistake of this nature and is unable to

specifically identify a point in which the filing went wrong, as it was only discovered yesterday

afternoon. She can only surmise that she must have closed the program before finalizing the filing

or some other similar mistake. The undersigned does not have an explanation for why she did not

notice the lack of notice email from the Court regarding this filing, other than she mistakenly took

the notice email for another filing for her filing and missed the fact that her own filing’s notice

was not received. The undersigned does not log on to Pacer to check the docket daily and logged

on yesterday to double check exhibits in preparing her clients’ reply in support of their own

summary judgment motion. The undersigned has been practicing for nearly 15 years (in California

and Colorado) and has never once had a mistake related to filing, or missing a deadline without

Court order approving an extension. The undersigned humbly requests that this Court not penalize

her clients for her single human error. This Court has the authority to allow the Drive Defendants

to file their Response past the deadline as the failure to file by the deadline was excusable error as

allowed by F.R.C.P. 6.

       5.      In the interest of determination of cases on their merits as opposed to technological

errors of counsel, the undersigned requests that this Court allow her to file the Drive Defendants’

Response to Plaintiff’s motion for summary judgment at this time. The prejudice to Plaintiff is

minimal as the Drive Defendants’ Response does not include new evidence. The undersigned




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sincerely apologizes for the inconvenience to the Court and opposing counsel. Remedial measures

have been implemented in her office to insure that nothing of this sort happens ever again.

       Dated this 2nd day of September, 2021.

                                                    Respectfully submitted,

                                                    SUSSEX LAW, LLC

                                                     /s/ Lisa N. Nobles____________
                                                     Lisa N. Nobles
                                                     Sussex Law, LLC
                                                     1129 E. 17th Avenue
                                                     Denver, CO 80218
                                                     Tel. (720) 223-6525
                                                     lnobles@sussexlawfirm.com
                                                     Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

I hereby certify that on this 2nd day of September, 2021 I served the foregoing by sending to the
following email addresses:

penn@andersondodson.com




                                                s/   Lisa N. Nobles




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